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                         EXHIBIT “4”
                 Sandra Meza-Perez
    Deposition Excerpts Vol I, Vol II, Vol III, Vol IV




                         EXHIBIT “4”
                 Sandra Meza-Perez
    Deposition Excerpts Vol I, Vol II, Vol III, Vol IV
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                     * * * Videotaped Deposition * * *
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      1                 UNITED STATES DISTRICT COURT

      2                       DISTRICT OF NEVADA

      3
      4
      5   SANDRA M. MEZA-PEREZ,          )
                                         )
      6         Plaintiff,               )
                                         ) Case No.
      7             vs.                  ) 2:19-cv-00373-APG-NJK
                                         )
      8   SBARRO, LLC, dba SBARRO        )
          PIZZA, a foreign limited       )
      9   liability company; SBARRO,     )
          INC., dba SBARRO PIZZA, a      )
     10   foreign corporation; ZACHARY   )
          CEBALLES, an individual;       )
     11   EFRAIN HERNANDEZ, an           )
          individual; JESUS ALATORRE, an )
     12   individual; DANA DORADO, an    )
          individual,                    )
     13                                  )
                Defendants.              )
     14   _______________________________)

     15
     16        VIDEOTAPED DEPOSITION OF SANDRA M. PEREZ-MEZA

     17                             VOLUME I

     18                       Pages 1 to 170

     19             Taken on Wednesday, October 23, 2019

     20                           At 9:10 a.m.

     21         Held at the Law Office of Littler Mendelson

     22            3960 Howard Hughes Parkway, Suite 300

     23                   Las Vegas, Nevada      89169

     24
     25   Reported By: Gale Salerno, RMR, CCR No. 542




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                                                                        Page 2


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     16              ANITA D'ANGELO, Spanish Interpreter

     17              PAMELA RUIZ, Legal Assistant,
                          Melanie Hill Law, PLLC
     18
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     23   Examination by Mr. Hicks                              8

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11:07   1         Q.     How long was that?

11:07   2         A.     I don't know.     I don't remember.

11:07   3         Q.     So you were hired at the Monte Carlo

11:07   4    location, and then you worked temporarily at the

11:07   5    Convention Center location while a convention was

11:07   6    going on?

11:07   7         A.     Yes.    That's what the Monte Carlo did.       If

11:08   8    they needed people at the Convention Center, they

11:08   9    took people from the Monte Carlo to send to the

11:08   10   Convention Center or from the other places.

11:08   11        Q.     Okay.     And when the convention was over,

11:08   12   you went back to work at the Monte Carlo location?

11:08   13        A.     Uh-huh.     Yes, sorry.   And I think it was

11:08   14   just one time that it happened that after I finished

11:08   15   at the Convention Center, Jorge took me back to the

11:08   16   Monte Carlo to continue working.

11:08   17        Q.     So you went to work at the Monte Carlo

11:08   18   where you were trained, and then you worked

11:09   19   temporarily at the Convention Center location?

11:09   20        A.     Yes.

11:09   21        Q.     And then you went back to work at the

11:09   22   Monte Carlo location?

11:09   23        A.     Yes.

11:09   24        Q.     And then in January of 2017, you

11:09   25   transferred from the Monte Carlo location to the




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11:09   1    Bally's location, correct?

11:09   2            A.   I didn't change.     They changed me.

11:09   3            Q.   But whether you asked to be transferred or

11:09   4    they asked you to transfer, you transferred from the

11:09   5    Monte Carlo location to the Bally's location in

11:09   6    January of 2017?

11:09   7            A.   Yes.     That's the way it was.

11:09   8            Q.   Okay.     I just want to get the dates right

11:09   9    here.

11:10   10           A.   And I don't know the dates exactly, so if

11:10   11   you ask me dates, I don't know them exactly.

11:10   12           Q.   I can represent to you you transferred from

11:10   13   the Monte Carlo location to the Bally's location on

11:10   14   January 11th, 2017.

11:10   15                MR. HICKS:     Let me have marked as

11:10   16   Exhibit No. 2 Plaintiff's Amended Complaint and

11:10   17   Demand for Jury Trial.

11:10   18                        (Exhibit 2 was marked for

11:10   19                        identification.)

11:10   20                MS. HILL:     And Mr. Hicks, we'll take a

11:10   21   break again in another ten minutes, whenever you find

11:10   22   a good stopping point.

11:11   23   BY MR. HICKS:

11:11   24           Q.   Ms. Perez, the Complaint that's been marked

11:11   25   as Exhibit 2 is the Complaint drafted by your




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11:13   1    speak about her or the inhumane working conditions

11:14   2    because she feared HR would not take her seriously

11:14   3    and Ceballes would harm her since he had threatened

11:14   4    to kill her and her boyfriend, sexually assault her

11:14   5    sister and daughter, and have her deported as he had

11:14   6    previously threatened to do."

11:14   7                 So the paragraph begins with, "Sandra did

11:14   8    not initially tell HR about the rapes and sexual

11:14   9    assaults."

11:14   10                Is that accurate?

11:15   11        A.      Yes.   I didn't immediately report it

11:15   12   because I was threatened with my life.

11:15   13        Q.      If we could go to paragraph 78 on page 12.

11:15   14   Paragraph 78 states:      "On or about May or June 2016,

11:15   15   and continuing throughout her employment, Sbarro

11:15   16   Pizza's general manager and Defendant Ceballes

11:15   17   willfully and unlawfully intended to cause harmful or

11:15   18   offensive physical contact with Sandra."

11:15   19                I didn't read the whole paragraph.      I just

11:15   20   read the first half.

11:16   21                Now, we'll get into the specifics later,

11:16   22   but I want to focus here on the time period, which

11:16   23   was May or June of 2016.

11:16   24                So in May or June of 2016, Mr. Ceballes

11:16   25   began sexually assaulting you, correct?




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11:16   1         A.     Yes.

11:16   2         Q.     And then in the next paragraph, paragraph

11:16   3    79, where you're talking about Mr. Hernandez and

11:16   4    Mr. Alatorre, it states, "On or about May or

11:17   5    June 2016 and continuing throughout her employment,

11:17   6    Hernandez and Alatorre willfully and unlawfully

11:17   7    intended to cause harmful or offensive physical

11:17   8    contact with Sandra."

11:17   9                Again, I didn't read the whole paragraph.

11:17   10   I just want to focus on the time period.

11:17   11        A.     Yes.   That's right.

11:17   12        Q.     So in May or June of 2016, Mr. Hernandez

11:17   13   and Mr. Alatorre began sexually assaulting you?

11:17   14        A.     Yes.   Yes.

11:18   15               I know that sexual assault is not just

11:18   16   penetration, but they touched me and said offensive

11:18   17   things.    And Efrain Hernandez grabbed my hand and had

11:18   18   me touch his genitals.

11:18   19        Q.     Thank you for the clarification.

11:18   20               And when I use the phrase "sexually

11:18   21   assault," I mean everything from touching you

11:19   22   inappropriately to anything else that they physically

11:19   23   did to you.

11:19   24               And that began in May or June of 2016,

11:19   25   correct?




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11:54   1    saw the message, in preparation for this deposition,

11:54   2    your attorneys played that message for you?

11:54   3            A.   Yes.    But I don't remember everything it

11:54   4    said.

11:54   5            Q.   That's okay.     And your attorney showed you

11:54   6    the transcription of your message?

11:54   7            A.   Yes.

11:54   8            Q.   And when your attorneys played that tape

11:54   9    for you of your message, that's when you remembered

11:54   10   that the first time you complained about sexual

11:54   11   harassment to Ms. Dorado was April 17, 2017?

11:55   12                MS. HILL:    Objection.   Form.

11:55   13                THE WITNESS:     I don't remember having told

11:55   14   her.     I don't remember.

11:55   15   BY MR. HICKS:

11:55   16           Q.   You don't remember ever telling Ms. Dorado

11:55   17   that you felt sexually harassed?

11:55   18           A.   I don't remember having told her, but I

11:55   19   wanted them to know what had happened.          But I was

11:55   20   very afraid.

11:55   21                MR. HICKS:     So let's have marked as next in

11:55   22   order Bates stamp page Sbarro 330, which is the

11:56   23   transcription of the voicemail message that Ms. Perez

11:56   24   left on April 18, 2017.

11:56   25                       (Exhibit 7 was marked for




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                       * * * Videotaped Deposition * * *
                                                                        Page 81

12:07   1                THE WITNESS:     Yes.

12:07   2    BY MR. HICKS:

12:07   3         Q.     You reported to the police that in November

12:07   4    of 2016, Mr. Ceballes pulled you into the cooler and

12:07   5    assaulted you, correct?

12:07   6         A.     Yes.

12:07   7         Q.     And then in the next paragraph --

12:08   8         A.     But the dates here, this one says 2015.

12:08   9    That's not correct.

12:08   10        Q.     No.     It says, "Perez-Meza states that in

12:08   11   November of 2016."

12:08   12        A.     Okay.

12:08   13        Q.     And in the paragraph following that, it

12:08   14   says, "Perez-Meza states that in December of 2016,

12:08   15   she told Ceballes that she will no longer comply with

12:08   16   his demands and was worried about him taking

12:08   17   advantage of her sister-in-law."

12:08   18               Do you see that?

12:08   19        A.     Yes.

12:08   20        Q.     So in December of 2016, you told

12:08   21   Mr. Ceballes that you were not going to have any

12:09   22   sexual relations with him anymore, correct?

12:09   23               MS. HILL:     Objection.   Can you read back

12:09   24   the date?    I thought you said '17, but I could have

12:09   25   misheard.




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                                                                             Page 82

12:09   1                         (The record was read as requested.)

12:09   2                 MS. HILL:     I was wrong.   Sorry.   Thank you.

12:09   3                 THE WITNESS:     I would tell Zach all the

12:09   4    time.

12:09   5                 That's one thing that's frustrating to me

12:09   6    because, like in this statement, there's a lot of

12:09   7    things that are not in there, because when I went to

12:09   8    make the statement there was nobody that spoke

12:09   9    Spanish there.

12:10   10                In fact, they had to call another girl to

12:10   11   help me because the girl that was helping me started

12:10   12   crying because she couldn't believe what I had gone

12:10   13   through at work.

12:10   14   BY MR. HICKS:

12:10   15           Q.   When you say "girl," you're referring to a

12:10   16   police officer?

12:10   17           A.   Well, two women helped me.      They were

12:10   18   wearing a uniform.        I don't know if they were police.

12:10   19   And then one man came to help.        I think he was

12:10   20   Hispanic because he spoke Spanish, but I had never

12:11   21   seen the statement.

12:11   22           Q.   Okay.     So the women that were taking your

12:11   23   statement down had police uniforms on, correct?

12:11   24           A.   Yes.

12:11   25           Q.   And they were at the police department or




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      1                  UNITED STATES DISTRICT COURT

      2                       DISTRICT OF NEVADA

      3
      4
      5    SANDRA M. MEZA-PEREZ,          )
                                          )
      6          Plaintiff,               )
                                          ) Case No.
      7              vs.                  ) 2:19-cv-00373-APG-NJK
                                          )
      8    SBARRO, LLC, dba SBARRO        )
           PIZZA, a foreign limited       )
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           INC., dba SBARRO PIZZA, a      )
     10    foreign corporation; ZACHARY   )
           CEBALLES, an individual;       )
     11    EFRAIN HERNANDEZ, an           )
           individual; JESUS ALATORRE, an )
     12    individual; DANA DORADO, an    )
           individual,                    )
     13                                   )
                 Defendants.              )
     14    _______________________________)

     15
     16        VIDEOTAPED DEPOSITION OF SANDRA M. PEREZ-MEZA

     17                             VOLUME III

     18                        Pages 283 to 481

     19              Taken on Friday, November 1, 2019

     20                            At 9:22 a.m.

     21         Held at the Law Office of Littler Mendelson

     22            3960 Howard Hughes Parkway, Suite 300

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     24
     25    Reported By: Gale Salerno, RMR, CCR No. 542




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             Sandra M. Perez-Meza - Vol. III - November 1, 2019
                     * * * Videotaped Deposition * * *
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11:29   1    the spray to clean, and a rag.         When I went in, Zach

11:29   2    was behind me, and he closed the door.

11:29   3           Q.   Okay.     Then what happened next?

11:29   4           A.   He grabbed me from behind.          He started to

11:29   5    touch my breasts.       He was trying to kiss me.       So I

11:29   6    just would turn.

11:29   7                And then he turned me towards -- there

11:30   8    was -- I don't know how to say it, where the food

11:30   9    was.    So there was one on this side and another one

11:30   10   on this one.      He turned me.   There was a space there.

11:30   11   He turned me towards that space.         He pulled down my

11:30   12   pants and he penetrated me.

11:30   13          Q.   Was there anybody in the refrigerator or

11:30   14   cooler other than you and Mr. Ceballes?

11:30   15          A.   No.

11:30   16          Q.   Was the door to the refrigerator open or

11:30   17   closed when this allegedly happened?

11:30   18          A.   It was locked from the inside.

11:31   19          Q.   Well, there's some dispute about that.

11:31   20               MS. HILL:     Objection.    Form.

11:31   21   BY MR. HICKS:

11:31   22          Q.   Did you scream?

11:31   23          A.   No.     I just remember I was ashamed to know

11:31   24   that -- for them to know that Zach had me there.

11:31   25          Q.   Did you yell?




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11:31   1         A.   No, I didn't yell.

11:31   2         Q.   Did you cry for help?

11:31   3         A.   No.     I was in shock.

11:31   4         Q.   Did you say no?

11:31   5         A.   I was just trying to cover myself.

11:31   6         Q.   Did you say no?

11:31   7         A.   I don't remember.

11:31   8         Q.   And it's your -- what kind of pants were

11:31   9    you wearing?

11:31   10        A.   Blue jeans.

11:31   11        Q.   So did you have a belt on?

11:31   12        A.   No.

11:31   13        Q.   What kind of shoes were you wearing?

11:31   14        A.   The type so that I don't slip.

11:32   15        Q.   So tennis shoes with a rubber sole?

11:32   16        A.   Like tennis shoes.

11:32   17        Q.   Did you leave your tennis shoes on?

11:32   18        A.   Yes.

11:32   19        Q.   And I'm going to have to ask you specific

11:32   20   questions here.

11:32   21        A.   Yes, that's fine.

11:32   22        Q.   What were you wearing?    What kind of shirt

11:32   23   or blouse were you wearing?

11:32   24        A.   A T-shirt from Sbarro's and my pants.

11:32   25        Q.   T-shirt and a pair of blue jeans?




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11:32   1         A.     Yes.

11:32   2         Q.     And did you have a bra or a brassiere on?

11:32   3         A.     Yes.     I had a bra on and panties.

11:32   4         Q.     Did you have anything in your hands when

11:32   5    you went into the cooler?

11:32   6         A.     I had the spray and the rag.

11:32   7         Q.     Okay.     And when you went in and you had the

11:32   8    spray and the rag, what did you do with the spray and

11:32   9    the rag?

11:32   10        A.     I don't remember.     I was surprised, and I

11:33   11   just there was kind of paralyzed and didn't know how

11:33   12   to react.    I thought that I could lose my job.      There

11:33   13   were a lot of things going around in my head.

11:33   14        Q.     What did you do with the rag and the spray?

11:33   15        A.     I don't remember.

11:33   16        Q.     Did you set it down?

11:33   17        A.     I don't remember.

11:33   18        Q.     Did you hold on to it?

11:33   19        A.     I don't remember.     I don't remember if I

11:33   20   put it down.       I don't remember if I kept them.   I

11:33   21   don't remember.

11:33   22        Q.     Did you hit Zach in the head with it?

11:33   23        A.     No.     I don't remember.

11:33   24        Q.     Now, you testified that Zach tried to touch

11:33   25   your breasts.




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11:33   1         A.     Yes.

11:33   2         Q.     So he closed the door?

11:33   3         A.     Yes.    I went in first.   He was behind me.

11:33   4    He closed the door.       There was a metal piece, and

11:34   5    that closed the door from the inside.

11:34   6         Q.     So when he closed the door, did he say

11:34   7    anything?

11:34   8         A.     No.    I was just like surprised what -- as

11:34   9    to what he was doing there.

11:34   10        Q.     I'm not asking what your reaction was.

11:34   11   Right now I'm just asking after Zach closed the door,

11:34   12   did he say anything?

11:34   13        A.     I don't remember.

11:34   14        Q.     Did you say anything at that point after he

11:34   15   closed the door?

11:34   16        A.     I don't remember.

11:34   17        Q.     Now, there's been some testimony in this

11:34   18   case that you used drugs, including meth.

11:34   19               Were you using meth on this day that we're

11:34   20   talking about?

11:34   21        A.     No.    No.   No, I was sober.

11:34   22        Q.     You weren't high?

11:34   23        A.     No.

11:34   24        Q.     And you said he tried to grab -- excuse me.

11:34   25   That's not what you said.




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11:34   1                You said he tried to touch your breasts?

11:35   2           A.   Yes.

11:35   3           Q.   Where were you standing when he tried to

11:35   4    touch your breasts?

11:35   5           A.   I was -- I was -- I had my back towards

11:35   6    him.

11:35   7           Q.   How do you know he was trying to touch your

11:35   8    breasts if you had your back towards him?

11:35   9           A.   He put his hands inside my blouse, so I

11:35   10   went like this.

11:35   11          Q.   So you gestured that he reached for your

11:35   12   breasts or your blouse, and you covered yourself by

11:35   13   crossing your arms?

11:35   14          A.   Yes.

11:35   15          Q.   And then what happened?

11:35   16          A.   He undid my pants.

11:35   17          Q.   So you had a pair of blue jeans on?

11:35   18          A.   Yes.

11:35   19          Q.   And they buttoned at the top?

11:35   20          A.   Yes.

11:35   21          Q.   And a zipper?

11:35   22          A.   Yes.

11:35   23          Q.   Did you unzip your pants or did Zach unzip

11:35   24   your pants?

11:35   25          A.   He did it.   He pulled them down.




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11:36   1    resist or fight?

11:36   2            A.      No, I didn't fight.

11:36   3            Q.      And then did you help -- did you take your

11:36   4    own pants off?

11:36   5            A.      No.

11:36   6            Q.      So what were you doing with your hands when

11:36   7    he was --

11:36   8            A.      I was very cold, so I was just covering

11:36   9    myself like this.

11:37   10           Q.      Let me finish my question.      I know you know

11:37   11   what I'm going to ask, but let me finish so the court

11:37   12   reporter can get it.

11:37   13                   When Zach was pulling your pants down, did

11:37   14   you elbow him or push him, or did you just stand

11:37   15   there?

11:37   16           A.      I don't remember.     I don't know.   I don't

11:37   17   remember if I was trying to get him not to undo my

11:37   18   pants.        I was just like this, like pulling up my leg

11:37   19   a little bit because I was very cold.

11:37   20                   MR. HICKS:     I want the record to reflect

11:37   21   the witness has her arms crossed over her chest.

11:37   22                   MS. HILL:    And she's also crossing her

11:37   23   legs.        You can't see that.

11:37   24                   THE WITNESS:     I was just doing like this.

11:37   25                   MS. HILL:    Lifting her leg.




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11:40   1    on anything like a wall or anything else in the

11:40   2    cooler?

11:40   3         A.     I don't remember.    I don't know if I tried

11:40   4    to grab onto something.      I don't remember.   I just

11:40   5    remember that I was very cold.

11:40   6         Q.     And you say he penetrated you?

11:40   7         A.     Yes.

11:40   8         Q.     For how long?

11:41   9         A.     I don't remember.

11:41   10        Q.     Was it more or less than two seconds?

11:41   11        A.     I think from five to eight minutes.

11:41   12        Q.     So for five to eight minutes it's your

11:41   13   allegation that Mr. Ceballes had sexual intercourse

11:41   14   with you?

11:41   15        A.     Yeah.    He was penetrating me.   I wasn't

11:41   16   having sex with him.

11:41   17        Q.     You know what I'm asking though, right?

11:41   18   Sexual intercourse, penetration for five to eight

11:41   19   minutes you said?

11:41   20        A.     Yes.

11:41   21        Q.     And that was consistent?     In other words,

11:41   22   is it your allegation that once he entered you he

11:41   23   stayed in you until the eight minutes was done?

11:41   24        A.     Yes.    Until he finished.

11:42   25        Q.     And when you say "he finished," what do you




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11:43   1         A.   From behind, yes.

11:43   2         Q.   And he had his hands on your waist?

11:43   3         A.   No.    I remember he was putting his hands,

11:43   4    touching my breasts.

11:43   5         Q.   He was trying to touch your breasts?

11:43   6         A.   So I was like this. I was trying -- how do

11:43   7    you say it, to cover myself.

11:43   8         Q.   So he was trying to grab your breasts and

11:44   9    you were covering yourself?

11:44   10        A.   Yes.

11:44   11        Q.   And then right after that --

11:44   12        A.   Because when I went in, I remember I saw

11:44   13   him, but I turned my back to him, and since I knew I

11:44   14   had to clean, I started cleaning.    So I thought he

11:44   15   was doing something there, but I never thought he was

11:44   16   there to rape me.

11:44   17        Q.   So let me take this one step at a time.

11:44   18             So after Mr. Ceballes was trying to touch

11:44   19   your breasts, you covered your breasts, correct?       And

11:44   20   then he immediately tried to unbutton your pants?

11:44   21        A.   I think so.

11:44   22        Q.   And when he was unbuttoning your pants, was

11:44   23   he using both hands?

11:44   24        A.   I don't remember.    I don't remember.   But

11:44   25   he had a difficult time undoing my pants.




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11:49   1    I remember that I was very embarrassed.

11:49   2            Q.    Who was this that you're referring to?

11:49   3            A.    Osvaldo Luna.

11:49   4            Q.    And is Osvaldo Luna a man or a woman?

11:49   5            A.    He's a man.

11:49   6            Q.    And when you left the cooler, is it your

11:49   7    testimony that Mr. Luna was somewhere outside the

11:49   8    door?

11:49   9            A.    Yes.   Because they started to make fun of

11:49   10   my -- Osvaldo Luna saw me walking out of the walk-in,

11:50   11   and immediately I think I finished, and my sister was

11:50   12   coming in to work.       And he told her that same day he

11:50   13   saw me, he saw what -- he told her what he had seen.

11:50   14   After that day it was a rumor.

11:50   15           Q.    Okay, wait a minute, wait a minute, wait a

11:50   16   minute.      This is what we can't do.     We have got to

11:50   17   stick to one question at a time.

11:50   18                 First of all, was the cooler locked when

11:50   19   you were inside with Mr. Ceballes?

11:50   20           A.    Yes, it was locked.     You could close the

11:50   21   door from the inside.         They would go in and drink

11:51   22   beer in there.

11:51   23           Q.    No, no, no, no.     We need to stick to this

11:51   24   specific incident.       Not when somebody was drinking

11:51   25   beer, nothing else.         Just this incident.




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12:16   1    that occasion?

12:16   2            A.      No.    I don't remember.

12:16   3            Q.      And you said it happened every week.       For

12:16   4    how many weeks did it happen every week?

12:16   5            A.      I just remember it was around the time I

12:16   6    was working in the Monte Carlo that it was one time

12:16   7    per week.

12:16   8            Q.      So is it your --

12:16   9            A.      There were times when it could have been on

12:16   10   Wednesdays or Saturdays, Sunday.

12:16   11           Q.      So is it your contention that after Zach

12:17   12   allegedly raped you the first time in May or June of

12:17   13   2016, that he raped you weekly from that point

12:17   14   forward until mid December 2016?

12:17   15           A.      Yes.    That's the way it happened.   And when

12:17   16   I was on my period --

12:17   17           Q.      We'll get to that.    We'll get to that.      I

12:17   18   want to stick right now with the alleged rapes.

12:17   19                   Do you remember anything specific about the

12:17   20   second time that he allegedly raped you?

12:17   21           A.      No.    I don't remember.

12:17   22           Q.      Or how about the third time?

12:17   23           A.      I'm not sure of remembering the second

12:17   24   time.        But it was -- I was coming from my house, and

12:18   25   I was going into my shift of 2:00 to 10:00.           And I




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12:18   1    remember I was very thirsty, and I was asking if I

12:18   2    could get a drink.     And then they told me to clock

12:18   3    in.

12:18   4                 And when -- I think and I'm sure that it

12:18   5    was the second time, and he put me in the walk-in and

12:18   6    it happened again, he raped me.

12:18   7            Q.   So it's your allegation that he raped you

12:18   8    at least once a week all through July of 2016?

12:18   9            A.   Yes.

12:18   10           Q.   At least once a week all through August of

12:18   11   2016?

12:18   12           A.   Yes.

12:18   13           Q.   At least once a week all through September

12:19   14   of 2016?

12:19   15           A.   Yes.

12:19   16           Q.   At least once a week through -- all through

12:19   17   October of 2016?

12:19   18           A.   Yes.

12:19   19           Q.   At least once a week through November of

12:19   20   2016?

12:19   21           A.   Yes.

12:19   22           Q.   And then at least once a week for the first

12:19   23   two weeks of December of 2016?

12:19   24           A.   Yes.

12:19   25           Q.   So it's your allegation that he raped you




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12:19   1    at least 22 times?

12:19   2            A.   I think so.

12:19   3            Q.   And --

12:19   4            A.   I never counted them.     I've never thought

12:19   5    about it.

12:19   6            Q.   Well, you told us it was at least once a

12:19   7    week.

12:19   8            A.   It was one time.     That I do remember.

12:19   9            Q.   Okay.    So at least once a week, so that is

12:19   10   at least 22 times that you claim he raped you?

12:19   11           A.   Yes.

12:19   12           Q.   And is it your contention that every time

12:20   13   he allegedly raped you, it was in the cooler at work

12:20   14   during work hours?

12:20   15           A.   It was not -- it was never with my consent.

12:20   16   He would always threaten me.

12:20   17           Q.   That's not my question.       That's not my

12:20   18   question.     My question is, is it your contention --

12:20   19                MS. HILL:     I don't know if she knows what

12:20   20   "contention" means.

12:20   21                THE WITNESS:     What's contention?

12:20   22                MR. HICKS:     Fair enough.

12:20   23   BY MR. HICKS:

12:20   24           Q.   Thank you for telling me you didn't

12:20   25   understand the word.        I'll change the word.




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12:23   1    most people, the most employees, correct?

12:23   2         A.   Yes.

12:23   3         Q.   On the second time that Zach allegedly

12:23   4    raped you in the cooler, what were you wearing?

12:23   5         A.   I always had my uniform on.

12:23   6         Q.   What pants?

12:23   7         A.   It was blue jeans and the black T-shirt

12:23   8    from Sbarro's with my black cap.        And with my --

12:24   9              THE INTERPRETER:     I'm sorry, Counsel.       I

12:24   10   lost the word.     I'm sorry, I need to look real quick.

12:24   11             THE WITNESS:     (Witness speaking)     Apron.

12:24   12             THE INTERPRETER:     Apron.

12:24   13   BY MR. HICKS:

12:24   14        Q.   So whenever you were at work, you would

12:24   15   have blue jeans, the skinny blue jeans?

12:24   16        A.   Yes.

12:24   17        Q.   And a Sbarro shirt?

12:24   18        A.   Sbarro shirt.

12:24   19        Q.   A bra?

12:24   20        A.   My bra, my panties.

12:24   21        Q.   And on the second occasion that Zach

12:24   22   allegedly raped you, do you remember what he said?

12:24   23   How did you end up in the cooler?        Do you remember

12:24   24   the second occasion?

12:24   25        A.   No.    No, I don't remember exactly.




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12:25   1         Q.    Did -- do you remember who asked you to go

12:25   2    in the cooler on that occasion?

12:25   3         A.    Jesus, when he gave me the drink, he told

12:25   4    me to go in, to clock in.      And then I just remember

12:25   5    that it happened.

12:25   6         Q.    Right now I'm just asking about the second

12:25   7    time you claim that Zach raped you.

12:25   8               Why were you in the cooler?

12:25   9         A.    Because that's what I was told to do.

12:25   10        Q.    By who?

12:25   11        A.    Jesus and Zach.

12:25   12        Q.    So Jesus and Zach both told you at the same

12:25   13   time to go to the cooler?

12:25   14        A.    No.     First it was Jesus.   And because I

12:25   15   didn't pay attention, then Zach came.       And that was

12:25   16   when he told me somebody had to pay the favor of

12:26   17   having given work to my whole family, and that if I

12:26   18   didn't do it, he was going to take it against my

12:26   19   sister.   And I didn't want anything to happen to her.

12:26   20        Q.    So is it your testimony that you had sexual

12:26   21   intercourse with Zach because you were concerned that

12:26   22   if you didn't, he would want to have sexual

12:26   23   intercourse with your sister?

12:26   24        A.    Yeah.

12:26   25        Q.    Yesterday we heard testimony from Malani




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12:34   1                 If witnesses came in and say -- tell us you

12:34   2    hated Nancy, you were jealous of Nancy, would they be

12:34   3    lying?

12:34   4            A.   Yes.   Yes.   As a matter of fact, I have her

12:34   5    phone number when I found her with her children.

12:34   6                 MR. HICKS:    This is nonresponsive.   I ask

12:34   7    that it be stricken.

12:34   8    BY MR. HICKS:

12:34   9            Q.   Please stick to the questions.

12:34   10           A.   I have her phone number.

12:34   11           Q.   Ms. Perez, there's no question pending.

12:34   12                So on the second occasion that you were

12:34   13   allegedly raped by Mr. Ceballes, did you yell for

12:34   14   help?

12:34   15           A.   No.

12:34   16           Q.   Did you scream?

12:35   17           A.   No.

12:35   18           Q.   Did you scratch him or fight him?

12:35   19           A.   I don't remember.

12:35   20           Q.   And did he wear a condom on that second

12:35   21   occasion?

12:35   22           A.   Yes.   He always used a condom.

12:35   23           Q.   So on each of the 22-plus times that

12:35   24   Mr. Ceballes allegedly raped you, he had a condom on?

12:35   25           A.   Yes.




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12:35   1         Q.   And on the second occasion, did you see him

12:35   2    put the condom on?

12:35   3         A.   I don't remember.

12:35   4         Q.   Then how do you know he had a condom on?

12:35   5         A.   Because I would see him put it in a plastic

12:35   6    Sbarro's bag.     Because he would always come with two

12:35   7    blue rags in a bag.

12:35   8         Q.   Are you talking about the second time that

12:36   9    he allegedly raped you?      Because that's what I'm

12:36   10   talking about.

12:36   11        A.   Yes.

12:36   12        Q.   So on the second time he allegedly raped

12:36   13   you, you're claiming you specifically remember he had

12:36   14   a blue rag?

12:36   15        A.   Two rags.

12:36   16        Q.   Two?     And you're positive this was the

12:36   17   second time?

12:36   18        A.   I'm not sure if it was the second time.

12:36   19   I'm not very sure.

12:36   20        Q.   And when you went into the cooler with him,

12:36   21   he had the rags in his hand?

12:36   22        A.   No.     No.   They were inside the bag.

12:36   23        Q.   Okay.     And the bag was in his hand?

12:36   24        A.   Yes.

12:36   25        Q.   And you saw the bag in his hand?




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12:40   1                 Did you ever physically hit or scratch

12:40   2    Zach?

12:40   3            A.   Me to him?

12:40   4            Q.   Yes.

12:40   5            A.   No.

12:40   6            Q.   Did you ever say no?

12:40   7            A.   I think I pushed him.

12:40   8            Q.   Did you ever say no?

12:40   9            A.   Yes.   Yes.

12:40   10           Q.   You already testified --

12:40   11           A.   I would say no.   I would say no.     He would

12:40   12   stand in front of me, and he would move.         And I would

12:41   13   ask him do I have to do it, and he would say yes.

12:41   14   Because he was always in front.      I would be working.

12:41   15   He would be in front of me and he wouldn't move.

12:41   16           Q.   So you testified earlier in your deposition

12:41   17   that in this mid December, you put your foot down and

12:41   18   said I'm not going to have sex with you anymore,

12:41   19   right?

12:41   20           A.   I'm not very sure if I wrote it like that

12:41   21   or said it like that.      I would always tell him no.

12:41   22   So it's not the only time I told him no.         I would

12:41   23   always tell him no.

12:41   24           Q.   In the police report that you filed on

12:41   25   April 19, 2017, it says --




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12:43   1    intercourse with Zach, why did you?

12:43   2            A.   Why did I do that?     That's a stupid

12:43   3    question.

12:43   4            Q.   I don't think so.     I think it's a very

12:43   5    common question.        Why --

12:43   6            A.   For you.

12:43   7            Q.   Okay.   So that's why I'm asking you.       Why

12:43   8    did you have sex with Zach more than 22 times if you

12:43   9    didn't want to?

12:43   10           A.   Because I was threatened.

12:43   11           Q.   Threatened with what?

12:43   12           A.   He's going to kill me.     If I play with the

12:43   13   money of his family.        He would tell me to bring

12:43   14   him -- he told me bring me your boyfriend -- bring me

12:44   15   Jose.

12:44   16           Q.   I'm asking you why you had sexual

12:44   17   intercourse over 22 times if you didn't want to.           And

12:44   18   the first thing you said is because he said he would

12:44   19   kill you, right?

12:44   20           A.   He told me if I didn't do it he was going

12:44   21   to take it out on my brother and my -- my sister and

12:44   22   my daughter.

12:44   23           Q.   So when did Zach allegedly tell you if you

12:44   24   didn't have sex with him he was going to take it out

12:44   25   on your sister and your daughter?




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12:44   1         A.     I think it was the first time.

12:44   2         Q.     Okay.     And did he say that just once?

12:44   3         A.     Or the second time.

12:44   4                No.     He would say it, and he would tell me

12:44   5    if I played with his family's money, he was going to

12:44   6    kill me.

12:44   7         Q.     What does playing with -- wait a minute,

12:45   8    wait a minute.       Just a second.   What does playing

12:45   9    with his family's money have to do with anything?

12:45   10        A.     I don't know.      That's what he would say.

12:45   11        Q.     So it's your allegation that Zach Ceballes

12:45   12   told you if you don't have sex with him, he's going

12:45   13   to do something bad to your sister and your daughter?

12:45   14               THE INTERPRETER:      I'm sorry.     I need to...

12:45   15               THE WITNESS:      If I didn't do it with him,

12:45   16   he was going to do it with my sister or my daughter.

12:45   17   BY MR. HICKS:

12:45   18        Q.     Your daughter's name is Karla?

12:45   19        A.     Karla, yes.

12:45   20        Q.     And did Karla work at the Monte Carlo at

12:45   21   the time?

12:45   22        A.     She worked for a few days.         I don't

12:45   23   remember very well.

12:45   24        Q.     But just a couple of days?

12:45   25        A.     Yes.     Yes.   And then she was sent to




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12:49   1         A.      I don't remember exactly.

12:49   2         Q.      But after Karla trained at the Monte Carlo,

12:49   3    she then immediately transferred to Bally's?

12:49   4         A.      Yes.

12:49   5         Q.      So when Mr. Ceballes was allegedly making

12:49   6    these threats to you, Karla worked at a different

12:49   7    location, correct?

12:49   8         A.      Yes.   But I did believe him, that he was

12:49   9    going to do something to my daughter.

12:49   10        Q.      So if Mr. Ceballes worked at the Monte

12:49   11   Carlo location, what is it that you believed he could

12:49   12   do to your daughter who didn't even work at that

12:49   13   location?

12:49   14        A.      He could wait for her, attack her.   He

12:49   15   could work at that store.      I don't know.

12:49   16        Q.      And what is it that you thought

12:49   17   Mr. Ceballes would do or could do to your sister,

12:49   18   Fabiola, if she didn't work at the Monte Carlo

12:49   19   location?

12:50   20        A.      Because I had also heard something about my

12:50   21   sister.     He wanted her to change her shirt in front

12:50   22   of him.

12:50   23        Q.      What does that have to do with your having

12:50   24   sex with Mr. Ceballes?

12:50   25        A.      I was already afraid that he was going to




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03:38   1    were the ones who told me you can get money from here

03:38   2    and you can buy the company and you can fire whoever

03:38   3    treated you bad, Sandra.

03:38   4               "And I said oh, yeah.        So we laughed

03:38   5    because it was just a joke.        I didn't know what was

03:38   6    going to happen.     I didn't know.      Zach told me nobody

03:38   7    was going to believe me, so I thought nobody was

03:38   8    going to believe me.     He always gets away with

03:38   9    things, and I always thought it was like that.          And

03:38   10   they said -- we laughed because it was a joke, and

03:38   11   that's where it ended.       I never said anything like

03:38   12   that."

03:39   13                            -     -    -

03:39   14   BY MR. HICKS:

03:39   15        Q.    So your coworkers at the Cleaning Authority

03:39   16   were told by you about your lawsuit against Sbarro,

03:40   17   correct?

03:40   18        A.    There wasn't a lawsuit.        I just told them

03:40   19   about a complaint I had made at the Nevada Rights

03:40   20   Commission.     We never talked about a lawsuit.

03:40   21        Q.    So you talked about your charge with the

03:40   22   Nevada Equal Rights Commission?

03:40   23        A.    Yes.    I just talked about that I complained

03:40   24   at Nevada Rights Commission.        Never that I have a

03:40   25   lawsuit.   I didn't even know what a lawsuit was.         I




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      1                  UNITED STATES DISTRICT COURT

      2                       DISTRICT OF NEVADA

      3
      4
      5    SANDRA M. MEZA-PEREZ,          )
                                          )
      6          Plaintiff,               )
                                          )
      7              vs.                  )
                                          )
      8    SBARRO, LLC, dba SBARRO        ) Case No.
           PIZZA, a foreign limited       ) 2:19-cv-00373-APG-NJK
      9    liability company; SBARRO,     )
           INC., dba SBARRO PIZZA, a      )
     10    foreign corporation; ZACHARY   )
           CEBALLES, an individual;       )
     11    EFRAIN HERNANDEZ, an           )
           individual; JESUS ALATORRE, an )
     12    individual; DANA DORADO, an    )
           individual,                    )
     13                                   )
                 Defendants.              )
     14    _______________________________)

     15
     16                    * * * CONFIDENTIAL * * *

     17        VIDEOTAPED DEPOSITION OF SANDRA M. PEREZ-MEZA

     18                             VOLUME IV

     19                        Pages 482 to 731

     20             Taken on Thursday, January 23, 2020

     21                            At 9:34 a.m.

     22         Held at the Law Office of Littler Mendelson

     23            3960 Howard Hughes Parkway, Suite 300

     24                    Las Vegas, Nevada      89169

     25    Reported By: Gale Salerno, RMR, CCR No. 542




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     13    Also Present:

     14              TIM HARTMANSZERBIEC, Legal Videographer

     15              ALICIA HERRERA, Spanish Interpreter

     16              ALLISON MANN, Law Clerk (Patrick N. Chapin, Ltd.)

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11:24   1    BY MR. SAMBERG:

11:24   2          Q.    Okay.     Describe the threats that you were

11:24   3    referring to.       That's the question now.

11:24   4          A.    That if I was playing around with the

11:24   5    family's money, he was going to kill me.             He was

11:24   6    going to kill me, my boyfriend or my family.

11:24   7          Q.    Any other threats?

11:24   8          A.    He threatened me to deport me.           He

11:24   9    threatened me that if I wouldn't do what he asked me

11:24   10   to do, then he was going to go to my sister or my

11:24   11   daughter.

11:25   12               MR. SAMBERG:       Let me please ask Gale to

11:25   13   read back the entire answer.

11:25   14                              -      -      -

11:25   15                       (Whereupon, the following portion of

11:25   16   the testimony was read back by the court reporter:)

11:24   17                       "ANSWER:     That if I was playing around

11:24   18   with the family's money, he was going to kill me.             He

11:24   19   was going to kill me, my boyfriend or my family.

11:24   20                       "QUESTION:        Any other threats?

11:24   21                       "ANSWER:     He threatened me to deport

11:24   22   me.   He threatened me that if I wouldn't do what he

11:24   23   asked me to do, then he was going to go to my sister

11:24   24   or my daughter."

11:25   25                              -      -      -




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11:25   1    BY MR. SAMBERG:

11:25   2            Q.   There were multiple things that I may ask

11:25   3    you for in detail.      When you say Zach threatened to

11:25   4    deport you, what do you mean by that?

11:25   5            A.   If I didn't -- if I were to say something

11:26   6    or if I didn't accept -- if I didn't accept to go

11:26   7    with him to the walk-in, meaning to the refrigerator.

11:26   8            Q.   When you say deport, were you under the

11:26   9    impression that Zach had the power to deport you?

11:26   10   What do you mean he threatens to deport you?       Does he

11:26   11   work for the government?      I mean, what do you mean by

11:26   12   that?

11:26   13           A.   I mean, we know that any person nowadays,

11:26   14   there's all these threats that they can just call

11:26   15   immigration on you.      And that's what it was.   When he

11:26   16   would say that, that he was going to call immigration

11:26   17   and report me if I didn't walk in to go to the

11:26   18   refrigerator with him or if I wouldn't do the oral

11:26   19   sex that he wanted.

11:26   20           Q.   Okay.   Now, when you said in your answer he

11:27   21   would go to your sister and your daughter, what did

11:27   22   you mean by that?      What did you mean when you said

11:27   23   that?

11:27   24           A.   That he was going to go do to them what he

11:27   25   was doing to me.      He was going to do that to my




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11:27   1    daughter or my sister.

11:27   2         Q.     Sandra, this is a very delicate subject.

11:27   3    When you say "that," the word "that," that's not

11:27   4    specific.    What does "that" mean?

11:27   5         A.     That's the words that Zach would use.         That

11:27   6    if I wouldn't, meaning if I wouldn't give him

11:27   7    whatever he was asking of me, then he was going to go

11:27   8    get it from my sister or from my daughter.

11:27   9         Q.     What are you talking about?      Go get what?

11:27   10        A.     Sex.

11:27   11        Q.     You have --

11:27   12        A.     To rape.     To rape.

11:27   13        Q.     Okay.   Okay.

11:27   14        A.     What else?      If he was doing that to me.

11:27   15        Q.     So when you say "that," you mean the sex

11:28   16   that you've been describing?

11:28   17        A.     Yeah.

11:28   18        Q.     Okay.   All right.

11:28   19               I just have a couple of more questions

11:28   20   about Zach's penis and then we're going to take a

11:28   21   break.

11:28   22               You've described the length relative --

11:28   23   using numbers compared to this glass.        Using your own

11:28   24   words, how would you describe the girth of Zach's

11:28   25   penis?    Do you know what I mean by girth?      Not




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01:48   1    down wrong.       Let me phrase the question differently.

01:48   2    Somewhere in and around page 307 the subject came up

01:49   3    that she had complained to Zach about Efrain and

01:49   4    Jesus.       So I'll examine her about that and then on a

01:49   5    break I'll find the page number.

01:49   6    BY MR. SAMBERG:

01:49   7            Q.     Anyway, the complaint to Zach about Jesus

01:49   8    and Efrain, in the months that you worked at the

01:49   9    Monte Carlo location from I guess May or June to the

01:49   10   end of December 2016, when along that timeline do you

01:49   11   remember this happening?

01:49   12           A.     Like when I complained?

01:49   13           Q.     Yeah.

01:49   14           A.     In the beginning when I started working

01:49   15   there.

01:49   16           Q.     What did you complain about?

01:49   17           A.     That I had -- that they had poked at me

01:49   18   with a stick on -- at the convention center.           And

01:50   19   Jesus came from behind, and he had pressed my nipple,

01:50   20   and the bad things that Efrain would tell me, that

01:50   21   was my complaint.        That's what I complained about to

01:50   22   Zach.

01:50   23           Q.     Got it.   Okay.

01:50   24                  Now, you mentioned two things.   That

01:50   25   somebody pinched the nipple on your breast, correct?




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02:34   1    make a list.        Tell me the names.

02:34   2         A.      Faviola Perez, Ralicia.        I don't know the

02:34   3    last name.     Karla Perez, Maribel and me.

02:34   4         Q.      Okay.     So of your family members that are

02:34   5    here in Las Vegas that you mentioned, those people

02:34   6    were together with you working at the Sbarro location

02:34   7    at Monte Carlo, correct?

02:35   8                 MR. HICKS:      Objection as to the time.

02:35   9                 MR. SAMBERG:        Good objection.

02:35   10   BY MR. SAMBERG:

02:35   11        Q.      Where the work was in and around the

02:35   12   summertime of 2016, that's the period I'm talking

02:35   13   about.

02:35   14        A.      Yes.

02:35   15        Q.      Got it.     Okay.

02:35   16                Were any threats ever made to you that you

02:35   17   perceived -- do you have water?           Do you want to take

02:35   18   a break?

02:35   19                Did Zach ever threaten you that he would

02:35   20   fire your family members if you didn't cooperate with

02:35   21   him in having sex?

02:35   22        A.      Yes.     Yes.   He threatened me like that.

02:35   23        Q.      When?

02:35   24        A.      When he started to take me into the

02:35   25   walk-in, he would say that somebody had to be for




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02:37   1    consequences to how you feel?

02:37   2                MR. HICKS:     Objection.   Foundation.

02:37   3                THE WITNESS:     Yes.

02:37   4    BY MR. SAMBERG:

02:37   5           Q.   Please describe them.

02:37   6           A.   I was feeling very fearful at all times.         I

02:37   7    was feeling upset.       I have a lot of depression also

02:37   8    and scared.    More than anything scared for my family.

02:38   9    Scared for me because if I were to not have a job, I

02:38   10   mean, I had a family to support.        And that's what --

02:38   11   that my family to have food, for us to be able to

02:38   12   have enough to pay for the rent.

02:38   13          Q.   Okay.

02:38   14          A.   It hurt me what was going on.      It hurt me a

02:38   15   lot.    And I felt like ashamed.

02:38   16          Q.   Did you suffer any feelings in your body as

02:38   17   a --

02:38   18               MR. HICKS:     I didn't even hear the

02:38   19   question.

02:39   20   BY MR. SAMBERG:

02:39   21          Q.   Did you have other feelings, physical

02:39   22   feelings, in your body?       Physical discomfort?

02:39   23          A.   My body was aching and I also felt tired.

02:39   24   And many times I felt dizzy.        I felt as if I was

02:39   25   going to pass out.




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02:42   1          A.    I'm so sorry.

02:42   2          Q.    Don't be sorry.          Remember, it's not a

02:42   3    normal conversation.       Okay?

02:42   4                So let's have the question read back, the

02:42   5    same exact question.       And I agree that the previously

02:42   6    stated objections remain and carry forward to this

02:42   7    pending question.

02:42   8                               -     -      -

02:42   9                        (Whereupon, the following portion of

02:42   10   the testimony was read back by the court reporter:)

02:42   11                       "QUESTION:       Did you ever report to

02:42   12   Sheldon about any of the things that had happened to

02:42   13   you at the Monte Carlo store?"

02:42   14                              -     -      -

02:42   15   BY MR. SAMBERG:

02:42   16         Q.    It's a yes or no question.

02:42   17         A.    Yes.

02:42   18         Q.    What did you report?

02:42   19         A.    I tried to tell him, but he didn't allow

02:42   20   it.

02:42   21         Q.    Okay.     I understand you're trying to be

02:42   22   helpful, but that doesn't really explain anything.

02:43   23               MR. HICKS:     Well, Counsel, that was her

02:43   24   answer.    You asked her a question.          She gave you a

02:43   25   pretty clear answer.       No leading the witness.




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02:44   1    asked the reporter to read it back.             So we have to

02:44   2    wait for the reporter to read it back so I can figure

02:44   3    out how to proceed with your examination.

02:44   4                 So let's just wait and let Gale read it

02:44   5    back.

02:44   6                                -     -      -

02:44   7                         (Whereupon, the following portion of

02:44   8    the testimony was read back by the court reporter:)

02:44   9                         "QUESTION:       I tried to tell him, but

02:44   10   he didn't allow it."

02:44   11                               -     -      -

02:44   12                MR. SAMBERG:       That was helpful.     Thank you.

02:44   13   BY MR. SAMBERG:

02:44   14           Q.   You tried to tell him what?

02:44   15           A.   Because why my hours were being cut off,

02:44   16   and why I was taken off the schedule.             And I tried to

02:45   17   tell him that I was getting tired, that this is what

02:45   18   Zach used to do.

02:45   19                And he said:       I don't care, I don't care

02:45   20   what happened, I don't want to hear about it, I don't

02:45   21   want to hear about it, I don't care, I don't care, I

02:45   22   don't care.

02:45   23                And I was not heard, and I was not allowed

02:45   24   to explain.

02:45   25           Q.   Okay.




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03:19   1    BY MR. SAMBERG:

03:19   2         Q.     Okay.    Now, at the Bally's -- I'm sorry, at

03:19   3    the Monte Carlo location of Sbarro's, do you recall

03:19   4    whether anything similar to these documents that we

03:19   5    just looked at in Exhibits 40 through 46, was

03:19   6    anything like that posted at the Monte Carlo

03:19   7    location?

03:19   8         A.     No.

03:19   9         Q.     Okay.    What about at the location at the

03:19   10   convention center?

03:19   11        A.     I don't remember.

03:20   12        Q.     Okay.    So but these were definitely at the

03:20   13   Bally's location?

03:20   14        A.     Yes.    They are.   They are at Bally's.

03:20   15        Q.     Now, in the last answer you ran through a

03:20   16   variety of things that you described that apparently

03:20   17   were things that you perceived as a problem for you.

03:20   18   So let's go through them quickly because these are

03:20   19   covered in your first deposition.

03:20   20               You said you were taken off schedule.      How

03:20   21   long were you off schedule?

03:20   22        A.     One month.

03:20   23        Q.     Okay.    You talked about working I think --

03:20   24   did you work graveyard?

03:20   25        A.     Graveyard.




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04:03   1    you didn't -- strike that.

04:03   2              You testified that Zach was threatening you

04:03   3    with his job -- with your job, correct?

04:03   4         A.   Yes.

04:03   5         Q.   And that you had to support your family?

04:03   6         A.   Yes.

04:03   7         Q.   So and you're referring to -- by working at

04:03   8    Sbarro for 9.50 an hour, correct?

04:03   9         A.   Yes.

04:03   10        Q.   Yet you did find a job subsequent to that

04:03   11   making even more money, correct?

04:03   12        A.   Correct.

04:03   13        Q.   And it wasn't particularly hard for you to

04:03   14   find another job, was it?

04:03   15        A.   It took me effort.

04:03   16        Q.   I'm sorry?

04:03   17        A.   It took me effort.

04:03   18        Q.   Fair enough.     When was the first time you

04:04   19   spoke with or met John Samberg?

04:04   20             MR. SAMBERG:     Objection.   Relevance.

04:04   21             Let me make a statement for the record.

04:04   22             MR. HICKS:     Sure.

04:04   23             MR. SAMBERG:     That question does not invade

04:04   24   the privilege.

04:04   25             MR. HICKS:     It does not.




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